Case 1:22-sc-09999-UNA Document 221-1 Filed 12/08/22 Page 1 of 17




                    ATTACHMENT
                               A
                   Redacted Docket Materials
     Case
   Case    1:22-sc-09999-UNA
        1:19-sc-02400-RMM     Document
                           *SEALED*    221-1 Filed
                                    Document       12/08/22
                                              1 Filed        PagePage
                                                       12/06/19   2 of 117of 8




                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ONE EMAIL                      SC No. 19-sc-2400
 ACCOUNT SERVICED BY MICROSOFT
 FOR INVESTIGATION OF VIOLATION                   Filed Under Seal
 OF 18 U.S.C. 1956

Reference:     USAO Ref. #                ; Subject Account(s):

                       APPLICATION OF THE UNITED STATES
                    FOR AN ORDER PURSUANT TO 18 U.S.C. 2703(d)

The United States of America, moving by and through its undersigned counsel, respectfully

submits under seal this ex parte application for an Order pursuant to 18 U.S.C. § 2703(d). The

proposed Order would require Microsoft Corporation ("PROVIDER"), an electronic

communication service and/or remote computing service provider located in Redmond,

Washington, to disclose certain records and other information pertaining to the PROVIDER

account(s) associated with                              as set forth in Part I of Attachment A to

the proposed Order, within ten days of receipt of the Order. The records and other information

to be disclosed are described in Part II of Attachment A to the proposed Order. In support of this

application, the United States asserts:

                       LEGAL BACKGROUND AND JURISDICTION

       1.       PROVIDER is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).

Accordingly, the United States may use a court order issued under § 2703(d) to require

PROVIDER to disclose the items described in Part II of Attachment A. See 18 U.S.C. § 2703(c)(2)

(Part ILA of Attachment A); 18 U.S.C. § 2703(c)(1) (Part II.B of Attachment A).

       2.      This Court has jurisdiction to issue the requested Order because it is "a court of
     Case
   Case    1:22-sc-09999-UNA
        1:19-sc-02400-RMM     Document
                           *SEALED*    221-1 Filed
                                    Document       12/08/22
                                              1 Filed        PagePage
                                                       12/06/19   3 of 217of 8




competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(d). Specifically, the

Court is a "district court of the United States . . . that — has jurisdiction over the offense being

investigated." 18 U.S.C. § 2711(3)(A)(i).

       3.      As discussed more fully below, acts or omissions in furtherance of the offenses

under investigation occurred within Washington, DC. See 18 U.S.C. § 3237.

       4.      A court order under section 2703(d) "shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe that . . .

the records or other information sought . . . are relevant and material to an ongoing criminal

investigation." 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets forth

specific and articulable facts showing that there are reasonable grounds to believe that the records

and other information described in Part II of Attachment A are relevant and material to an ongoing

criminal investigation.

                                      RELEVANT FACTS

       5.      The United States is investigating                                           and co-

conspirators known and unknown for their involvement with an international shipping route from

      to Iran, where payments related to this route may have been paid in U.S. dollars, in violation

of U.S. sanctions against Iran. The investigation concerns possible violations of, inter alia, the

International Economic Emergency Powers Act (IEEPA), in violation of Title 50, United States

Code, Sections 1701-1707 and the money laundering statute, in violation of 18, United States

Code, Section 1956.

       6.      Homeland Security Investigations (HSI) began investigating                   after he

publically stated that his Iran-based company,

planned to create a shipping route from=        to Iran, using two bulk carriers and a container ship



                                                  2
    Case
  Case    1:22-sc-09999-UNA
       1:19-sc-02400-RMM     Document
                          *SEALED*    221-1 Filed
                                   Document       12/08/22
                                             1 Filed        PagePage
                                                      12/06/19   4 of 3
                                                                      17of 8




named




                                       3
       Case
     Case    1:22-sc-09999-UNA
          1:19-sc-02400-RMM     Document
                             *SEALED*    221-1 Filed
                                      Document       12/08/22
                                                1 Filed        PagePage
                                                         12/06/19   5 of 4
                                                                         17of 8




                                     TARGET ACCOUNTS

        1.                                          (Target Account 1) and

(Target Account 2) — Law enforcement discovered a LinkedIn account for                      The profile

information for           account indicates that            is involved with an Iran          shipping

route, and associates him with                            which is another companies             owns.

        also lists on the profile one of                     subsidiaries, further confirming that he

operates this account. Subpoena returns revealed that Target Account 1 and Target Account 2 are

the email addresses registered with this account.

        2.                                     Target Account 3) and

(Target Account 4) — Law enforcement discovered a LinkedIn account for                             The

profile information of this account indicates that the user is

      which (as noted above) is one of the companies           owns. According to publicly available

information,                            is a shipping company located in Tehran, Iran with a focus

in                                 Subpoena returns revealed that Target Account 3 and Target

Account 4 are the email addresses registered with this account.

        3.                                  (Target Account 5) — Law enforcement discovered a

second LinkedIn account in the name                     This account lists the position o

(the account holder) as                which is consistent with

                           Subpoena returns revealed that Target Account 5 is the email address



                                                    4
    Case 1:19-sc-02400-RMM
      Case                  *SEALED*
            1:22-sc-09999-UNA        Document
                               Document        1 Filed
                                        221-1 Filed     12/06/19
                                                    12/08/22  PagePage
                                                                   6 of 517of 8




registered with this account. Target Account 5 uses the same naming convention as Target Account

3 and Target Account 4 (i.e., unkopranam), but on a different domain.

                                   REQUEST FOR ORDER

       4.      The facts set forth above show that there are reasonable grounds to believe that the

records and other information described in Part II of Attachment A are relevant and material to an

ongoing criminal investigation. Specifically, these items will help the United States to identify

and locate the individual(s) who are responsible for the criminal activity under investigation, and

to determine the nature and scope of that criminal activity. Accordingly, the United States requests

that PROVIDER be directed to produce all items described in Part II of Attachment A to the

proposed Order within ten days of receipt of the Order.

       5.      The United States further requests that the Order direct PROVIDER not to notify

any person, including the subscriber or customer of each account listed in Part I of Attachment A,

of the existence of the application of the United States or the Order for one year from the date of

the Courts Order. See 18 U.S.C. § 2705(b). This Court has authority under 18 U.S.C. § 2705(b)

to issue an order commanding a provider of electronic communications service or remote

computing service to whom a warrant, subpoena, or court order is directed, for such period as the

court deems appropriate, not to notify any other person of the existence of the warrant, subpoena,

or court order. See 18 U.S.C. § 2705(b). 1



1
  The government relies on § 2705(b) to seek a preclusion-of-notice order because the government
is requesting only non-content information pursuant to § 2703(d), an action which is authorized
by § 2703(c). See 18 U.S.C. § 2703(c)(1)(B) (governmental entity may require a provider of
electronic communication service or remote computing service to disclose a record or other
information pertaining to a subscriber to or customer of such service (not including the contents
of communications) only when [it] . . . obtains a court order for such disclosure under subsection
(d) of this section). Under § 2703(c), the government has no obligation to notify the subscriber.
See 18 U.S.C. § 2703(c)(3) (governmental entity receiving records or information under this
section is not required to provide notice to a subscriber or customer).
                                                  5
   Case 1:19-sc-02400-RMM
     Case                  *SEALED*
           1:22-sc-09999-UNA        Document
                              Document        1 Filed
                                       221-1 Filed     12/06/19
                                                   12/08/22  PagePage
                                                                  7 of 617of 8




       6.      In this case, the proposed Order seeks information relevant to establishing the

illegal activity under investigation and identifying the individual(s) responsible. Accordingly,

disclosure may reveal the existence, scope, and direction of the United States ongoing and

confidential investigation.    Once alerted to this investigation, potential target(s) could be

immediately prompted to destroy or conceal incriminating evidence, alter their operational tactics

to avoid future detection, and otherwise take steps to undermine the investigation and avoid future

prosecution. In particular, given that they are known to use electronic communication and remote

computing services, the potential target(s) could quickly and easily destroy or encrypt digital

evidence relating to their criminal activity. Notification could also result in the target(s) avoiding

travel to the United States or other countries from which they may be extradited.

       7.      Therefore, based on the foregoing, there are reasonable grounds to believe that

notification of the existence of this Order would result in flight from prosecution, destruction of

or tampering with evidence, or other serious jeopardy to this investigation. See 18 U.S.C.

§ 2705(b)(2), (3), and (5).

       8.      Given the complex nature of the criminal activity under investigation and likely

involvement of foreign-based coconspirators and evidence, and also given that the criminal scheme

may be ongoing, the United States anticipates that this confidential investigation will continue for

the next year or longer.

       9.      Accordingly, this Court should command PROVIDER not to notify any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) of the existence

of the proposed Order for a period of one year (commencing on the date of the proposed Order),

unless the period of nondisclosure is later modified by the Court. Should the court-ordered

nondisclosure under Section 2705(b) become no longer needed because of the closure of the



                                                   6
   Case 1:19-sc-02400-RMM
     Case                  *SEALED*
           1:22-sc-09999-UNA        Document
                              Document        1 Filed
                                       221-1 Filed     12/06/19
                                                   12/08/22  PagePage
                                                                  8 of 717of 8




investigation or arrest of the account holder, the United States will make best efforts to notify the

Court promptly and seek appropriate relief.




                                                  7
   Case 1:19-sc-02400-RMM
     Case                  *SEALED*
           1:22-sc-09999-UNA        Document
                              Document        1 Filed
                                       221-1 Filed     12/06/19
                                                   12/08/22  PagePage
                                                                  9 of 817of 8




       10.     In this matter, the United States also requests that the instant Application and the

Order be filed under seal. The Court has the inherent power to seal court filings when appropriate,

including the proposed Order. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980)

(citing Nixon v. Warner Commnns, Inc., 435 U.S. 589, 598 (1978)). More particularly, the Court

may seal the Application and Order to prevent serious jeopardy to an ongoing criminal

investigation when such jeopardy creates a compelling governmental interest in confidentiality.

See Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991). For the reasons stated

above, the United States has a compelling interest in confidentiality to justify sealing the

Application and Order. See id.

                                             Respectfully submitted,

                                             JESSIE K. LIU
                                             United States Attorney
                                             DC Bar No. 472845


                                             ____/s/ Zia Faruqui_________________
                                             ZIA M. FARUQUI, D.C. Bar No. 494990
                                             Assistant United States Attorney
                                             555 Fourth Street, N.W., Room 4806
                                             Washington, D.C. 20530
                                             (202) 252-7117
                                             Zia.Faruqui@USDOJ.Gov




                                                 8
  Case 1:19-sc-02400-RMM
    Case                  *SEALED*
          1:22-sc-09999-UNA        Document
                             Document        1-1 12/08/22
                                      221-1 Filed Filed 12/06/19
                                                            Page Page  1 of 4
                                                                 10 of 17




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ONE EMAIL                        SC No. 19-sc-2400
 ACCOUNT SERVICED BY MICROSOFT
 FOR INVESTIGATION OF VIOLATION                     Filed Under Seal
 OF 18 U.S.C. 1956

                                              ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Microsoft Corporation (PROVIDER), an

electronic communication and/or remote computing service provider located in Redmond,

Washington, to disclose the records and other information described in Attachment A to this Order.

The Court finds that the United States has offered specific and articulable facts showing that there

are reasonable grounds to believe that the records or other information sought are relevant and

material to an ongoing criminal investigation. Furthermore, the Court determines that there is

reason to believe that notification of the existence of this Order will seriously jeopardize the

ongoing investigation, including by giving targets an opportunity to flee or continue flight from

prosecution and destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(2), (3), and (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of receipt of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 2705(b), that PROVIDER shall not

disclose the existence of the application of the United States or this Order of the Court to any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a period of

one year (commencing on the date of this Order), unless the period of nondisclosure is later

modified by the Court.
  Case 1:19-sc-02400-RMM
    Case                  *SEALED*
          1:22-sc-09999-UNA        Document
                             Document        1-1 12/08/22
                                      221-1 Filed Filed 12/06/19
                                                            Page Page  2 of 4
                                                                 11 of 17




       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court, except that the United States may disclose the existence and/or contents of

the Application and this Order to appropriate law enforcement authorities.



                                                    ___________________________________
                                                    UNITED STATES MAGISTRATE JUDGE




                                                2
    Case
  Case    1:22-sc-09999-UNA
       1:19-sc-02400-RMM     Document
                          *SEALED*    221-1 Filed
                                   Document  1-1 12/08/22   Page Page
                                                  Filed 12/06/19 12 of 17
                                                                       3 of 4




                                      ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Microsoft Corporation

("PROVIDER") account(s) associated with the following identifier(s):

           •

and any preserved data and/or preservation numbers associated therewith.

II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Account(s)") constituting information about the customer or subscriber of the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses);

       7. Other subscriber numbers or identities (including the registration IP address), including
          any current or past accounts linked to the Account(s) by telephone number, recovery
          or alternate e-mail address, IP address, or other unique device or user identifier; and

       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.
  Case 1:19-sc-02400-RMM
    Case                  *SEALED*
          1:22-sc-09999-UNA        Document
                             Document        1-1 12/08/22
                                      221-1 Filed Filed 12/06/19
                                                            Page Page  4 of 4
                                                                 13 of 17




   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) for the time period from January 1, 2015, to the

present, constituting all records and other information relating to the Account(s) (except the

contents of communications), including:

       1. Records of user activity for each connection made to or from the Account(s), including
          log files; messaging logs; the date, time, length, and method of connections; data
          transfer volume; user names; and source and destination Internet Protocol addresses;

       2. Information about each electronic communication sent or received by the Account(s),
          including the date and time of the communication, the method of communication, and
          the source and destination of the communication (such as source and destination email
          addresses, IP addresses, and telephone numbers), and any other associated header or
          routing information; and

       3. Identification of any PROVIDER account(s) that are linked to the Account(s) by
          cookies, including all PROVIDER user IDs that logged into PROVIDERs services by
          the same machine as the Account(s).




                                               2
   Case 1:19-sc-02400-RMM
     Case                 *SEALED*
          1:22-sc-09999-UNA DocumentDocument 2 Filed
                                     221-1 Filed     12/11/19
                                                 12/08/22 PagePage
                                                               14 of117
                                                                      of 4




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR ONE EMAIL                        SC No. 19-sc-2400
 ACCOUNT SERVICED BY MICROSOFT
 FOR INVESTIGATION OF VIOLATION                     Filed Under Seal
 OF 18 U.S.C. 1956

                                              ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Microsoft Corporation (“PROVIDER”), an

electronic communication and/or remote computing service provider located in Redmond,

Washington, to disclose the records and other information described in Attachment A to this Order.

The Court finds that the United States has offered specific and articulable facts showing that there

are reasonable grounds to believe that the records or other information sought are relevant and

material to an ongoing criminal investigation. Furthermore, the Court determines that there is

reason to believe that notification of the existence of this Order will seriously jeopardize the

ongoing investigation, including by giving targets an opportunity to flee or continue flight from

prosecution and destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(2), (3), and (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of receipt of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 2705(b), that PROVIDER shall not

disclose the existence of the application of the United States or this Order of the Court to any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a period of

one year (commencing on the date of this Order), unless the period of nondisclosure is later

modified by the Court.
   Case 1:19-sc-02400-RMM
     Case                 *SEALED*
          1:22-sc-09999-UNA DocumentDocument 2 Filed
                                     221-1 Filed     12/11/19
                                                 12/08/22 PagePage
                                                               15 of217
                                                                      of 4




       IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court, except that the United States may disclose the existence and/or contents of

the Application and this Order to appropriate law enforcement authorities.
                                                                         2019.12.11
                                                                         17:39:38 -05'00'
                                                    ___________________________________
                                                    UNITED STATES MAGISTRATE JUDGE




                                                2
     Case
   Case    1:22-sc-09999-UNA
        1:19-sc-02400-RMM     DocumentDocument
                           *SEALED*    221-1 Filed 12/08/22
                                               2 Filed      PagePage
                                                       12/11/19  16 of317
                                                                        of 4




                                      ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Microsoft Corporation

("PROVIDER") account(s) associated with the following identifier(s):

           •

and any preserved data and/or preservation numbers associated therewith.

II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Account(s)") constituting information about the customer or subscriber of the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses);

       7. Other subscriber numbers or identities (including the registration IP address), including
          any current or past accounts linked to the Account(s) by telephone number, recovery
          or alternate e-mail address, IP address, or other unique device or user identifier; and

       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.
   Case 1:19-sc-02400-RMM
     Case                 *SEALED*
          1:22-sc-09999-UNA DocumentDocument 2 Filed
                                     221-1 Filed     12/11/19
                                                 12/08/22 PagePage
                                                               17 of417
                                                                      of 4




   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) for the time period from January 1, 2015, to the

present, constituting all records and other information relating to the Account(s) (except the

contents of communications), including:

       1. Records of user activity for each connection made to or from the Account(s), including
          log files; messaging logs; the date, time, length, and method of connections; data
          transfer volume; user names; and source and destination Internet Protocol addresses;

       2. Information about each electronic communication sent or received by the Account(s),
          including the date and time of the communication, the method of communication, and
          the source and destination of the communication (such as source and destination email
          addresses, IP addresses, and telephone numbers), and any other associated header or
          routing information; and

       3. Identification of any PROVIDER account(s) that are linked to the Account(s) by
          cookies, including all PROVIDER user IDs that logged into PROVIDER’s services by
          the same machine as the Account(s).




                                               2
